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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

THOMAS NESTOR,

      Plaintiff,

v.                                             Case No. 8:20-cv-00265-T-36TGW

VPC3 II, LLP, N.E. APARTMENTS
ASSOCIATES, INC. and JUDGE
JACK DAY, in his official capacity,

      Defendants.
_________________________________/

            DEFENDANTS VPC3 II, LLP AND N.E. APARTMENTS
           ASSOCIATES, INC.’S REQUEST FOR JUDICIAL NOTICE

      Pursuant to Federal Rule of Evidence 201, Defendants VPC3 II, LLP and N.E.

Apartments Associates, Inc. file this Request for Judicial Notice and respectfully

request the Court take judicial notice of the documents set forth below. Rule 201(b)

provides: “The Court may judicially notice a fact that is not subject to reasonable

dispute because it . . . can be accurately and readily determined from sources

whose accuracy cannot reasonably be questioned.” And pursuant to Rule

201(c)(2), Fed. R. Evid., the court “must take judicial notice if a party requests it and

the court is supplied with the necessary information.” Here, the documents

subject to this request are public records, and accordingly, judicial notice is

appropriate. E.g., Horne v. Potter, 392 Fed. Appx. 800, 802 (11th Cir. 2010)(judicial
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notice taken of documents filed in previous case); Rossy v. Lupkin, 2017 WL

20172062, at *3 (M.D. Fla. May 17, 2017)(judicial notice taken of documents filed in

state court proceedings).

      Defendants VPC3 II, LLP and N.E. Apartments Associates, Inc. request this

Court to take judicial notice of all the documents filed in court by the parties,

including the following documents, true and accurate copies of which are attached

hereto:

Thomas J. Nestor v. VPC3 II, LLP, pending in the Circuit Court of the Sixth
Judicial Circuit in and for Pinellas County, Florida, Case No. 14-2358-CI

      1.    Complaint, filed March 26, 2014 (Filing # 11774201).

      2.    Answer and Affirmative Defenses to Counterclaim for Declaratory
            Judgment, filed May 22, 2014 (Filing # 13977498).

      3.    Answer and Affirmative Defenses, filed June 2, 2014 (Filing #
            14327110).

      4.    Counterclaim for Declaratory Judgment, filed June 2, 2014 (Filing #
            14322463).

      5.    Motion to Deposit Payments into the Registry of the Court, filed June
            3, 2014 (Filing # 14371295).

      6.    Motion for Leave to Amend Affirmative Defenses, filed June 17, 2014
            (Filing # 14921139).

      7.    Motion for Supplemental Relief Pursuant to Florida Statues, Section
            86.061, filed June 24, 2014 (Filing # 15191788).

      8.    Order Granting Motion to Intervene of N.E. Apartments Associates,
            Inc., dated July 1, 2014.

      9.    Order Approving Pretrial Stipulations, dated June 19, 2014.


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      10.   Joint Motion for Order Approving Settlement Agreement and Mutual
            Release, filed July 3, 2014 (Filing # 15552573).

      11.   Order Granting Joint Motion to Approve Settlement Agreement and
            Mutual Release, dated July 9, 2014.

      12.   Intervenor, N.E. Apartments Associates, Inc.’s Emergency Motion to
            Enforce Settlement Agreement and for Attorneys’ Fees and Costs,
            filed July 23, 2014 (Filing # 16242567).

      13.   VPC’s Emergency Motion to Enforce Settlement Agreement and for
            Attorneys’ Fees and Costs, filed July 23, 2014 (Filing # 16240327).

      14.   Amendment to VPC’s Emergency Motion to Enforce Settlement
            Agreement and for Attorneys’ Fees and Costs, filed August 26, 2014
            (Filing # 17540724).

      15.   Deposition transcript of Thomas J. Nestor dated August 28, 2014,
            Volume I, filed September 3, 2014 (Filing # 17817330)

      16.   Email chain dated July 19, 2014 with attachments, filed September 4,
            2014 (Filing # 17848348).

      17.   Order Granting VPC’s Emergency Motion to Enforce Settlement
            Agreement and for Attorneys’ Fees and Costs and Intervenor, N.E.
            Apartments Associates, Inc.’s Emergency Motion to Enforce
            Settlement Agreement and for Attorneys’ Fees and Costs, dated
            September 22, 2014.

      18.   Order Denying Emergency Motion for Stay Pending Appeal, dated
            September 23, 2014.

      19.   Amended Motion for Stay Pending Appeal, filed September 30, 2014
            (Filing # 18830413).

      20.   Notice of Filing September 4, 2014 hearing transcript and HUD
            Settlement Statement, filed December 12, 2014 (Filing # 21572433).

               a. Hearing Transcript of Proceedings Held Before The Honorable
                  Jack Day, September 4, 2014, filed December 12, 2014 (Filing #
                  21572433).



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               b. Exhibit - U.S. Department of Housing and Urban Development
                  Settlement Statement, filed December 12, 2014 (Filing #
                  21572433).

      21.   Second District Court of Appeal Order dated February 3, 2015, filed
            February 5, 2015.

      22.   Second District Court of Appeal Order dated May 14, 2015, filed May
            18, 2015.

      23.   Motion for Amended Final Order Nunc Pro Tunc to September 19,
            2014, filed June 9, 2015 (Filing # 28247612).

      24.   Agreed Order on Thomas J. Nestor’s Motion for Issuance of Final
            Order and VPC3 II, LLP’s Motion for Amended Final Order Nunc Pro
            Tunc to September 19, 2014, dated June 10, 2015.

      25.   Second District Court of Appeal Mandate dated December 30, 2015,
            filed January 4, 2016.

Thomas J. Nestor v. VPC 3, II, LLP and N.E. Apartments Associates, Inc., District
Court of Appeal of the State of Florida, Second District, Lakeland, Florida, Case
No. 2D14-4514

      26.   Notice of Appeal filed by Thomas J. Nestor, Plaintiff/Appellant,
            September 23, 2014 (Filing # 18547361).

      27.   Appellant’s Amended Initial Brief, filed on February 2, 2015 (Filing #
            23222093).

      28.   Answer Brief of Appellees VPC3 II, LLP and N.E. Apartments
            Associates, Inc., filed on February 23, 2015 (Filing # 24103228).

      29.   Appellant’s Reply Brief, filed on March 14, 2015 (Filing # 24885941).

      30.   Opinion (per curiam, affirmed), filed on September 25, 2015.

      31.   Appellant’s Motion for Written Opinion, Motion for Certification,
            Motion for Rehearing and Motion for Rehearing En Banc, filed on
            October 8, 2015 (Filing # 33013788).




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      32.   Appellees’ Response to Appellant’s Motion for Written Opinion,
            Motion for Certification, Motion for Rehearing and Motion for
            Rehearing En Banc, filed October 19, 2015 (Filing #33385034).

      33.   Order denying motions for rehearing, rehearing en banc, certification
            and issuance of a written opinion, dated November 20, 2015.

      34.   Mandate, dated December 30, 2015.

Thomas J. Nestor v. VPC 3 II, LLP and NE Apartments Associates, Inc., Supreme
Court of the State of Florida, Case Number Not Issued.

      35.   Motion for Extension of Time to File Appeal, filed January 30, 2016
            (Filing # 37217810).

      36.   Correspondence from The Supreme Court of Florida to attorney
            Amber Robinson dated February 1, 2016.

      37.   Appellees’ Memorandum in Opposition to Motion for Extension of
            Time, filed February 9, 2016 (Filing # 37607779).

Thomas J. Nestor v. Nicholas E. Ekonomou, Florida Fair Housing Corp. and N.E.
Apartments Associates, Inc., Circuit Court of the Sixth Judicial Circuit in and for
Pinellas County, Florida, Case No. 18-4648-CI

      38.   Complaint, filed July 16, 2018 (Filing # 75025495).

      39.   Docket report dated February 23, 2021.

Thomas J. Nestor v. VPC3 II, LLP, C3 Healthcare Management, Inc. and Northstar
Real Estate Development Corp., Circuit Court of the Sixth Judicial Circuit in and
for Pinellas County, Florida, Case No. 19-4849-CI

      40.   Amended Complaint, filed August 17, 2020 (Filing # 111894702).

      41.   Docket report dated February 23, 2021.




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                      LOCAL RULE 3.01(g) CERTIFICATION

         I hereby certify that counsel for the movants has attempted to confer with

counsel for Plaintiff regarding the relief sought in this motion. Counsel for

Plaintiff indicated that they are not available to confer until February 25, 2021.

Thus, movants will supplement this certification in accordance with Local Rule

3.01(g).

Dated: February 24, 2021                Respectfully submitted,

                                        /s/ Alice R. Huneycutt
                                        ALICE R. HUNEYCUTT, ESQUIRE
                                        Florida Bar No. 293105
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                                        dclarke-argo@stearnsweaver.com
                                        Attorneys for Defendants VPC3 II, LLP and
                                        N.E. Apartments Associates, Inc.

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 24, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.

                                        /s/ Alice R. Huneycutt
                                        ALICE R. HUNEYCUTT, ESQUIRE
                                        Florida Bar No. 293105

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